     Case 23-10763-amc          Doc 932-1 Filed 01/22/25 Entered 01/22/25 16:14:17                     Desc
                                      Attachments Page 1 of 4

Exhibit A
Bank Reconciliation December 2024

                                                        Chapter 11 Trustee Account
                                           TriState Capital TriState Capital TriState Capital
                              Key Bank       Bank x4746        Bank x4753        Bank x7985          Totals
Beginning Bank Balance      $       226.00 $            ‐    $    940,807.94 $            ‐     $    941,033.94
           Receipts:
Deposits                    $          ‐    $           ‐    $   1,000,000.00 $   1,000,000.00 $    2,000,000.00
Transfers In                $          ‐    $           ‐    $   1,000,000.00 $            ‐   $    1,000,000.00
           Sub‐Total        $          ‐    $           ‐    $   2,000,000.00 $   1,000,000.00 $    3,000,000.00
       Disbursements:
Checks & Debits             $          ‐    $           ‐                     $           ‐    $           ‐
Transfers Out               $          ‐    $           ‐                     $ (1,000,000.00) $ (1,000,000.00)
          Sub‐Total         $          ‐    $           ‐    $           ‐    $ (1,000,000.00) $ (1,000,000.00)
Ending Bank Balance         $       226.00 $            ‐    $ 2,940,807.94 $             ‐     $ 2,941,033.94
     Case 23-10763-amc              Doc 932-1 Filed 01/22/25 Entered 01/22/25 16:14:17                      Desc
                                          Attachments Page 2 of 4

Exhibit B
Total Cash Reciepts

  Date Recevied                     Received from                   Account             Purpose            Amount
   12/24/2024         Epiq Corporate Restructuring LLC        TriState 7985   Deposit                  $ 1,000,000.00
   12/26/2024         State of Delaware ‐ Court of Chancery   TriState 4753   Deposit                  $ 1,000,000.00

                                                                                        Total Receipts: $2,000,000.00
                                               TriState Capital Bank
             Case 23-10763-amc            Doc301
                                              932-1        Filed
                                                  Grant Street, STE 01/22/25
                                                                    2700       Entered 01/22/25 16:14:17                        Desc
                                                   Attachments
                                             Pittsburgh PA 15219         Page 3 of 4
                                                                                                                                     Period Covered:
                                                                                                              December 01, 2024 - December 31, 2024
                                                                                                                                         Page 1 of 2
Mr. William A. Homony                                                  Case Number                                                         23-10763
1628 John F. Kennedy Blvd.                                             Case Name                                            Stream TV Networks, Inc.
Suite 950                                                                                                                                 DEBTOR
Philadelphia PA 19103
                                                                       Trustee Number                                                        580192
                                                                       Trustee Name                                            Mr. William A. Homony
                                                                                                                                            TRUSTEE

                                                                                                                                          Questions:
                                                                                                                                        800.634.7734
                                                                                                                        banking.services@stretto.com
                                                                                                                                     www.stretto.com
Consolidated Balance Summary

                                                                                                         Ending Balance           Ending Balance
Account                                                                                      Number
                                                                                                            Prior Period             This Period
Checking Account
  TRUSTEE CHECKING                                                                              4746                   $0.00                   $0.00
  TRUSTEE CHECKING                                                                              4753             $940,807.94           $2,940,807.94
  TRUSTEE CHECKING                                                                              7985                   $0.00                   $0.00
  Total                                                                                                          $940,807.94           $2,940,807.94


TRUSTEE CHECKING                                                                                               Account Number:                4746

Enclosures                                                         0   Beginning Balance                                                      $0.00
                                                                         + Total Additions                                                    $0.00
                                                                         - Total Subtractions                                                 $0.00
                                                                       Ending Balance                                                         $0.00


Daily Balances

Date                                     Amount      Date                                Amount        Date                                 Amount
11-30                                      $0.00


TRUSTEE CHECKING                                                                                               Account Number:                4753

Enclosures                                                         0   Beginning Balance                                                $940,807.94
                                                                         + Total Additions                                             $2,000,000.00
                                                                         - Total Subtractions                                                 $0.00
                                                                       Ending Balance                                                  $2,940,807.94


Credits

Date                         Description                                                                                                   Additions
12-26                        CUSTOMER DEPOSIT                                                                                          $1,000,000.00
12-30                        TRN FROM 7985 TO 4753                                                                                     $1,000,000.00


Daily Balances

Date                                     Amount      Date                                Amount        Date                                 Amount
11-30                                 $940,807.94    12-26                          $1,940,807.94      12-30                           $2,940,807.94
                                                          TriState Capital Bank
              Case 23-10763-amc                    Doc301
                                                       932-1        Filed
                                                           Grant Street, STE 01/22/25
                                                                             2700       Entered 01/22/25 16:14:17                                   Desc
                                                            Attachments
                                                      Pittsburgh PA 15219         Page 4 of 4
                                                                                                                                                      Period Covered:
                                                                                                                               December 01, 2024 - December 31, 2024
                                                                                                                                                          Page 2 of 2

TRUSTEE CHECKING                                                                                                                 Account Number:                    7985

Enclosures                                                                        0    Beginning Balance                                                             $0.00
                                                                                         + Total Additions                                                 $1,000,000.00
                                                                                          - Total Subtractions                                             $1,000,000.00
                                                                                       Ending Balance                                                                $0.00


Debits

Date                              Description                                                                                                              Subtractions
12-30                             TRN FROM 7985 TO 4753                                                                                                    $1,000,000.00


Credits

Date                              Description                                                                                                                  Additions
12-24                             INCOMING WIRE FROM EPIQ CORPOR ATE RESTRUCTURING LLC 82041644                                                            $1,000,000.00


Daily Balances

Date                                              Amount         Date                                     Amount         Date                                    Amount
11-30                                               $0.00        12-24                               $1,000,000.00       12-30                                     $0.00

                                                                    ERROR RESOLUTION NOTICE

In case of errors or questions about your electronic transfers, call, email or write us at the telephone number, email address or mailing address listed below, as
soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or receipt. We must hear
from you no later than 60 days after we sent the FIRST statement on which the problem or error appeared.


               1. Tell us your name and account number (if any).
               2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
                  information.
               3. Tell us the dollar amount of the suspected error.


If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days. We will determine whether an error occurred
within 10 business days (5 business days for debit card point-of-sale transactions and 20 business days if the transfer involved a new account) after we hear from
you and will correct any error promptly. If we need more time, however, we may take up to 45 days (90 days if the transfer involved a new account, a point-of-sale
transaction, or a foreign-initiated transfer) to investigate your complaint or question. If we decide to do this, we will credit your account within 10 business days for
the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.


If we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. Your account is
considered a new account for the first 30 days after the first deposit is made, unless each of you already has an established account with us before this account is
opened. We will tell you the results within three business days after completing our investigation. If we decide that there was no error, we will send you a written
explanation. You may ask for copies of the documents that we used in our investigation.


Stretto
410 Exchange
Suite 100
Irvine CA 92602
Phone: 800-634-7734

Email: Banking.Services@Stretto.com
